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Emergency Management

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COREXIT® EC9527A

COREXIT® EC9527A

TECHNICAL PRODUCT BULLETIN #D-1
USEPA, OIL PROGRAM CENTER

ORIGINAL LISTING DATE: MARCH 10, 1978
REVISED LISTING DATE: DECEMBER 18, 1995
"COREXIT® EC9527A"

(formerly COREXIT 9527)

I. NAME, BRAND, OR TRADEMARK

COREXIT® EC9527A
Type of Product: Dispersant

IJ. NAME, ADDRESS AND TELEPHONE NUMBER OF MANUFACTURER/CONTACT

Nalco Energy Services, L.P.

7705 Highway 90-A

Sugar Land, TX 77487-0087
Product Management:

Office: (281) 263-7336

Mobile: (281) 202-8126

E-mail: kapreston@nalco.com
Web Site: http://www.nalco.com
(Ms. Kathryn Preston)

III. NAME, ADDRESS, AND TELEPHONE NUMBER OF PRIMARY DISTRIBUTORS

Nalco Energy Services, L.P.
7705 Highway 90-A

Sugar Land, TX 77487-0087
Product Management:

Office: (281) 263-7336

Mobile: (281) 202-8126

E-mail: kapreston@nalco.com
Web Site: http://www.nalco.com
(Ms. Kathryn Preston)

IV. SPECIAL HANDLING AND WORKER PRECAUTIONS FOR STORAGE AND FIELD APPLICATION

1. Flammability:

COREXIT® EC9527A is not classified as flammable by either DOT or IMO regulations.

2. Ventilation:

Avoid prolonged breathing of vapors. Use with ventilation equal to unobstructed outdoors in
moderate breeze.

3. Skin and eye contact; protective clothing; treatment in case of contact:

Avoid eye contact. In case of eye contact, immediately flush eyes with large amounts of water
for at least 15 minutes. Get prompt medical attention. Avoid contact with skin and clothing. In
case of skin contact, immediately flush with large amounts of water, and soap if available.

EXHIBIT “1”

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Remove contaminated clothing, including shoes, after flushing has begun. If irritation persists,
seek medical attention. For open systems where contact is likely, wear long sleeve shirt,
chemical resistant gloves, and chemical protective goggles.

4.a. Maximum storage temperature: 170°F

4.b. Minimum storage temperature: -30°F

4.c. Optimum storage temperature range: 40°F to 100°F

4.d. Temperatures of phase separations and chemical changes:

COREXIT® EC9527A is not adversely affected by changes in storage temperature unless
evaporation is allowed to occur.

V. SHELF LIFE

The shelf life of unopened drums of COREXIT® EC9527A is unlimited. Containers should
always be capped when not in use to prevent contamination and evaporation of solvents.

VI. RECOMMENDED APPLICATION PROCEDURE

1. Application Method:

COREXIT® EC9527A is most effectively applied by aircraft, however, application with boat
spray booms, boat fire monitors, and by hand held sprayers and back packs has been
successfully done on a number of spills and trials.

Aerial Spraying - Aircraft provide the most rapid method of applying dispersants to an oil spill
and a variety of aircraft can be used for spraying. For aerial spraying, COREXIT® EC9527A is
applied undiluted. Typical application altitudes of 30 to 50 feet have been used, although
higher altitudes may be effective under certain conditions. Actual effective altitudes will
depend on the application equipment, weather and aircraft. Careful selection of spray nozzles
is critical to achieve desired dose levels, since droplet size must be controlled. Many nozzles
used for agricultural spraying are of low capacity and produce too fine a spray. A quarter-inch
open pipe may be all that is necessary if the aircraft travels at 120 mph (104 knots) or more,
since the air shear at these speeds will be sufficient to break the dispersant into the proper
sized droplets.

Boat Spraying - COREXIT® EC9527A may be applied by workboats equipped with spray booms
mounted ahead of the bow wake or as far forward as possible. The preferred and most
effective method of application from a workboat is to use a low-volume, low-pressure pump So
the chemical can be applied undiluted. Spray equipment designed to provide a five to ten
percent diluted dispersant solution to the spray booms can also be used. COREXIT® EC9527A
9527 should be applied as droplets, not fogged or atomized. Natural wave or boat wake action
usually provides adequate mixing energy to disperse the oil. Recent tests have indicated that a
fire monitor modified with a screen cap for droplet size may also be useful for applying
COREXIT® EC9527A. Due to the increased volume output and the greater reach of the fire
monitor, significantly more area can be covered in a shorter period of time.

System Calibration - Spray systems should be calibrated at temperatures anticipated to insure
successful application and dosage control.

2. Concentration/Application Rate:

A treatment rate of about 2 to 10 U.S. gallons per acre, or a dispersant to oil ratio of 1:50 to
1:10 is recommended. This rate varies depending on the type of oil, degree of weathering,
temperature, and thickness of the slick.

3. Conditions for Use:

As with all dispersants, timely application ensures the highest degree of success. Early
treatment with COREXIT® EC9527A, even at reduced treat rates, can reduce the "mousse"
forming tendencies of the spilled oil. COREXIT® EC9527A is useful on oil spills in salt water.

VII. TOXICITY AND EFFECTIVENESS

a. Toxicity:
Material Tested Species LC50 (ppm)

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COREXIT® EC9527A Menidia beryllina 14.57 96-hr
Mysidopsis bahia 24.14 48-hr

No. 2 Fuel Oil Menidia beryllina 10.72 96-hr
Mysidopsis bahia 16.12 48-hr

COREXIT® EC9527A & No. 2 Fuel Oil (1:10) Menidia beryllina 4.49 96-hr
6.60

Mysidopsis bahia 48-hr
Reference Toxicant (DSS) Menidia beryllina 7.07 96-hr
Mysidopsis bahia 9.82 48-hr

NOTE: This toxicity data was derived using the concentrated product. See Section VI of this
bulletin for information regarding the manufacturer's recommendations for concentrations and
application rates for field use.

b. Effectiveness:
SWIRLING FLASK DISPERSANT EFFECTIVENESS TEST WITH SOUTH LOUISIANA (S/L) AND
PRUDHOE BAY (P/B) CRUDE OIL

Oil Effectiveness (%)
Prudhoe Bay Crude 37.4%
South Louisiana Crude 63.4%
Average of Prudhoe Bay and South Louisiana Crudes 50.4 %

VIII. MICROBIOLOGICAL ANALYSIS

Not Applicable

IX. PHYSICAL PROPERTIES

. Flash Point: 163°F

. Pour Point: < - 40°F

. Viscosity: 160 cst at 32°F

. Specific Gravity: 0.98 - 1.02

pH: 6.1

. Surface Active Agents: CONFIDENTIAL

. Solvents: Water, Propylene Glycol, 2-Butoxyethanol
. Additives: CONFIDENTIAL

. Solubility: Complete

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X. ANALYSIS FOR HEAVY METALS, CYANIDE, AND CHLORINATED HYDROCARBONS

Compound Concentration (ppm)
Arsenic < 0.005

Cadmium < 0.01

Chromium < 1.0

Copper < 0.2

Lead <0O.1

Mercury < 0.003

Nickel <0.1

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Zinc 0.1
Cyanide < 0.01
Chlorinated Hydrocarbons < 0.01

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